AO 245B
               Case: 5:14-cr-00074-DCR Doc #: 326 Filed: 08/20/15 Page: 1 of 6 - Page ID#: 1144
            (Rev. 09/J I) Judgment in a Criminal Case
            Sheet I                                                                                            Eastern District of Kentucky
                                                                                                                         FILED
                                            UNITED STATES DISTRICT COURT                                               AUG 2 0 2015
                                         Eastern District of Kentucky - Central Division at Lexington                      AT LEXINGTON
                                                                                                                         ROBERT R. CARR
                                                                                                                     CLERK U.S. DISTRICT COURT
                                                                           )
               UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CASE
                                    v.                                     )
                                                                           )
                         Alvin Jason Givens                                )      Case Number:           5: 14-CR-74-DCR-1
                                                                           )      USM Number:            07201-104
                                                                           )
                                                                           )      William Daniel Carman  - - - - -

                                                                                  Defendant's Attorney
THE DEFENDANT:
 lZJ pleaded guilty to count(s)       Two of the Indictment
                                               ----   -------------------



D pleaded nolo contendere to count(s)
    which was accepted by the court.
 D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                Nature of Offense                                                                 Offense Ended

          21 :846              Conspiracy to Distribute 100 Grams or More of Heroin                                  June 12, 2014               Two




       The defendant is sentenced as provided in pages 2 through           __6 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

 D The defendant has been found not guilty on count(s)                                               - - - - -------         --




 D Count(s)                                                 D   is   D   are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                           Name and Title of Judge


                                                                          __Ll_LL////}?!_-20,,
                                                                          Date~~~~----'
                                                                                                               co/S-
               Case: 5:14-cr-00074-DCR Doc #: 326 Filed: 08/20/15 Page: 2 of 6 - Page ID#: 1145
AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 2 - Imprisonment


                                                                                                       Judgment - Page        2   of   6
 DEFENDANT:                    Alvin Jason Givens
 CASE NUMBER:                  5: 14-CR-74-DCR-1


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
                                                               84MONTHS



      ~       The court makes the following recommendations to the Bureau of Prisons:
              That the defendant participate in the Dual Diagnosis 500-Hour RDAP Program.
              That the defendant participate in a job skills and/or vocational training program.
              That the defendant be designated to the facility closest to his home in Miami, Florida for which he qualifies.




      ~       The defendant is remanded to the custody of the United States Marshal.

      D       The defendant shall surrender to the United States Marshal for this district:

          D       at                                  D a.m.     D p.m.        on
          D       as notified by the United States Marshal.

      D       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D       before 2 p.m. on
          D       as notified by the United States Marshal.
          D       as notified by the Probation or Pretrial Services Office.

                                                                    RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at                                          · - - - , with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL


                                                                              By
                                                                                                 DEPUTY UNITED STATES MARSHAL
AO 2458
               Case: 5:14-cr-00074-DCR Doc #: 326 Filed: 08/20/15 Page: 3 of 6 - Page ID#: 1146
             (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3 - Supervised Release


                                                                                                             Judgment-Page                3      of             6
 DEFENDANT:                     Alvin Jason Givens
 CASE NUMBER:                   5: 14-CR-74-DCR-l

                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
                                                                     4 YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
 D
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.                (Check,    if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer.        (Check,   if applicable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
 D        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 D        The defendant shall participate in an approved program for domestic violence.    (Check,   if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                                STANDARD CONDITIONS OF SUPERVISION
   1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)   the defendant shall support his or her dependents and meet other family responsibilities;
   5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
   6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13) as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.
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AO 2458      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3C - Supervised Release


                                                                                                                Judgment-Page        4        of        6
 DEFENDANT:                    Alvin Jason Givens
 CASE NUMBER:                  5: 14-CR-74-DCR-l

                                             SPECIAL CONDITIONS OF SUPERVISION

The defendant shall abstain from the use of alcohol.

The defendant shall participate in a substance abuse treatment program and shall submit to periodic drug and alcohol testing at the
direction and discretion of the probation officer during the term of supervision. Said program may include one or more cognitive
behavioral approaches to address criminal thinking patterns and antisocial behaviors. The defendant shall pay for the cost of treatment
services to the extent he is able as determined by the probation officer.

The defendant shall submit his person, residence and curtilage, office or vehicle to a search, upon direction and discretion of the
United States Probation Office.

The defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of
any prohibited substance testing, which is required as a condition of release.

The defendant shall attend and successfully complete any mental health diagnostic evaluations and treatment or counseling programs
as directed by the probation officer. The defendant shall pay for the cost of treatment services to the extent he is able as determined by
the probation officer.

The defendant shall provide to the USPO, within 7 (seven) days of release from the custody of the Bureau of Prisons, a written report,
in a form the USPO directs, listing each and every prescription medication in the defendant's possession, custody or control. The list
shall include, but not be limited to, any prescription medication that contains a controlled substance and encompasses all current, past
and outdated or expired prescription medications in a defendant's possession, custody, or control at the time of the report;

The defendant shall notify the USPO immediately (i.e. within no later than 72 hours) if defendant receives any prescription for a
medication containing a controlled substance during the period of supervised release. The defendant shall provide the USPO such
documentation and verification as the USPO may reasonably request and in a form the USPO directs;

The defendant must comply strictly with the orders of any physician or other prescribing source with respect to use of all prescription
medications; and,

The defendant shall report any theft or destruction of his prescription medications to the U.S. Probation Officer within 72 hours of the
theft or destruction.

Pursuant to Public Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of2004, the defendant shall submit to
DNA collection if the offense of conviction is a felony.

                                                                  ACKNOWLEDGMENT

Upon a finding of a violation of probation or supervised release, I understand that the Court may (I) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


(Signed) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        (Defendant)                                                          Date


          U. S. Probation Officer/Designated Witness                         Date
               Case: 5:14-cr-00074-DCR Doc #: 326 Filed: 08/20/15 Page: 5 of 6 - Page ID#: 1148
AO 2458      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 5 - Criminal Monetary Penalties


                                                                                                            Judgment - Page         5   of       6
 DEFENDANT:                           Alvin Jason Givens
 CASE NUMBER:                         5: 14-CR-74-DCR-l

                                                  CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                               Fine                                Restitution
 TOTALS               $ 100                                                  $ Waived                               $ Comm. Restitution Waived

 D    The determination of restitution is deferred until ______ · An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
          otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
          victims must be paid before the United States is paid.

 Name of Payee                                    Total Loss*                            Restitution Ordered                   Priority or Percentage




 TOTALS                                  $ _ _ _ _ _ _. ___                          $


 0        Restitution amount ordered pursuant to plea agreement $

 0        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D     the interest requirement is waived for the            D       fine     D    restitution.

       0     the interest requirement for the           0   fine       0      restitution is modified as follows:

*Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, butbeforeApril23, 1996.
AO 24SB
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             (Rev. 09/11) Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments

                                                                                                          Judgment- Page       6       of        6
 DEFENDANT:                    Alvin Jason Givens
 CASE NUMBER:                  5: 14-CR-74-DCR-l

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~     Lump sum payment of$             100                due immediately, balance due

             D      not later than   -----               ------
                                                                   , or
             ~      in accordance with       D      C,   D   D    D E, or      ~ F below; or

 B     D Payment to begin immediately (may be combined with                   D C,        D     D, or      D F below); or
 C     D Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $ _ _ ___ _          over a period of
           __      ___ (e.g., months or years), to commence        _ _ ___ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $ · - - - - - - - - over a period of
                             (e.g.. months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D Payment during the term of supervised release will commence within         _ ··---       (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     ~     Special instructions regarding the payment of criminal monetary penalties:
             $100.00 Special Assessment is due immediately.
             Criminal monetary penalties are payable to:
             Clerk, U.S. District Court, Eastern District of Kentucky
             101 Barr Street, Room 206, Lexington KY 40507

             INCLUDE CASE NUMBER WITH ALL CORRESPONDENCE

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.




 D        The defendant shall pay the cost of prosecution.

 D        The defendant shall pay the following court cost(s):

 ~        The defendant shall forfeit the defendant's interest in the following property to the United States:
          The property listed in the Forfeiture Allegation of the Indictment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
